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Sentence

there was no good cause, in the Court's view, shown for that
application. To the contrary, the Court observed at trial
very substantial evidence of the zeal and professionalism
and competency with which defense counsel, in close
collaboration with his client, had defended this case.

let's proceed, then, to the question of whether
defense counsel has any objections to any of the statements
in the pre-sentence report.

MR. DUNN: No, your Honor.

THE COURT: Does the government have any
objections?

MR. COHEN: No, your Honor.

THE COURT: I will note that I have
independently, and very carefully indeed, reviewed the
underlying facts and the conclusions drawn by the probation
officer, and I concur that the total offense level is 43 and
the criminal history category 1s Roman numeral I, calling
for a mandatory life imprisonment sentence,

Despite the very serious nature of the offense
here involved that resulted in the wanton murder of three
persons, and despite the cbvious need in such circumstances
for a very severe sentence, both to punish the defendant for
this terrible deed and to deter others, the Court, like marly
other courts, is not entirely comfortable with the fact that

the sentencing guidelines leave no meaningful discreticn in

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Sentence

this situation. But I have neither been furnished with any
requests for departure nor seen on my own any likely basis
on which a departure could be considered. Therefore, I am
bound by the requirements of the guidelines in this respect.

Let me hear from defense counsel and then from
the defendant, if he wishes to be heard, and then from the
govermnent, if it wishes to be heard, pefore I pronounce
final sentence.

MR. DUNN: Your Honor, I attempted to look at
things that might get a departure, and I would have loved to
have presented something to the Court in that regard. But
I, unfortunately, didn't find anything.

I would just note for the Court that I think this
was a difficult trial for all parties involved. There was
some very tense testimony during the case. The witness who
basically said Mr. Ramsey was the shooter, it really came
down to testimony that she gave in the grand jury, since in
subsequent proceedings it changed to it wasn't him, to
finally here where she didn't remember. But the jury spoke
and they found Mr. Ramsey guilty.

Tt ig just a very sad situation. I wish there
were some way that you could sentence him to 30 years or
something like that.

THE COURT: JI think the question of what the jury

concluded I have long since made all my rulings on, and that

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Sentence
is not an issue for me here. The egregiousness of the
offense is obvious. The need for a very severe sentence is
obvious. What is not so obvious is that a determination by
the Sentencing Commission that a 24-year-old person who, on
the record before the Court, ig not without promise of
salvageability as a vesponsible person, is in effect
determined to be someone whom society will forever remove
from its everyday affairs.

T can't totally escape the notion that on all the
facts and circumstances of this case, extreme though they be
in terms of the awfulness of what Mr. Ramsey did, that
society as a whole is not entirely well served by adding, in
effect, a fourth removal from the everyday world to the
three who were so brutally taken away from this world. But
it would be an absolute flat derogation of duty on my part
not to impose the law as the law. is written. So I make
these remarks only for whatever small benefit they might
have to the Sentencing Commission in future cases where the
sentence of human beings, whether good or not, so readily
defined, it seems to me, as to be excluded from the exercise
of the discretion of the court that has had more nuanced
inputs than any court has in any case before it. But there
it is. |

Is there anything further that defense counsel

wants to say? Then I will hear from the defendant.

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Sentence

MR. DUNN: No, your Honor.

THE COURT: Mr. Ramsey?

THE DEFENDANT: Good evening, your Honor.
Basically, first and foremost, I would like to say that I
feel sympathy for the family for its loss. Me as an
individual, I don't have no knowledge about law itself in
general. I was charged for a crime that at least the
government said I committed. I state my innocence to this
day. I wasn't brought up as a lawyer.

Basically, your Honor, this is something new to
me, and I ask if you would just bear with me right now,
because I know that I am looking at a lot of time. I will
be away from my family for a while. All I ask God for right
now is to give me strength to go on with my life and to make
it wherever I go. I'm a strong kid, and generally, you
know, whereas with my family and everything, I will try to
be there for them even while I'm incarcerated. f would ask
your Honor to have leniency, if I'm saying the word
correctly, on me.

IT had looked at something this morning, before I
came to court this morning, in the PSI report. I think I
had told me lawyer before about it, about individuals who
they said I was racketeering with or who I was in a gang
with. The government had asked a couple of people to come

in and testify against me who was in the so-called gang.

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‘ Sentence

They didn't show up. I don't know the reason why. f had
specifically asked my lawyer if he could get those people to
be on my defense. As I said before, I don't know about law,
how you go about that. They wasn't here.

Basically, your Honor, I was ina situation, a
bad situation at a bad time. As I say, people, places and
things, there are a lot of individuals in the street as a
black man, a young black man, who would be in a predicament
like me right now. I guess I have to deal with the
consequences.

All I can ask your Honor for is the best leniency
you can do for me, your Honor, I appreciate it, and I ask
God to help me go on while I'm incarcerated. That's
probably it, your Honor.

THE COURT: I appreciate that statement.

Let me hear if there is anything the government
wants to say.

MR. COHEN: Your Honor, if we could have just one
moment ?

THE COURT: Yes.

(Pause)

MR. COHEN: Judge, we have nothing.

THE COURT: Were there any discretion to impose
less than a life imprisonment term, I would have seriously

considered that, although I certainly would not have

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